UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      22-CR-305 (JMF)
                                                                       :
NATHANIEL CHASTAIN,                                                    :   MEMORANDUM OPINION
                                                                       :       AND ORDER
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        Yesterday, the Government filed an additional motion in limine in this case, familiarity
with which is presumed, seeking to preclude Defendant Nathaniel Chastain from asking
OpenSea’s CEO or any witness “their opinion about whether the prosecution is unfair or has
negatively impacted the defendant’s mental health.” ECF No. 89. Later the same day, Chastain
responded, opposing the Government’s motion to the extent that it seeks to preclude questioning
about whether the prosecution is unfair and seeking additional relief. See ECF No. 91.
Chastain’s letter also indicates that he intends to “submit a revised proposed voir dire to include
certain questions regarding ‘insider trading’” in light of the Court’s rulings yesterday. Id. at 3.

         Upon review of the parties’ letters, the Government’s motion is GRANTED. Put simply,
the trial in this case is about whether Chastain committed the charged crimes; it is not about
whether the prosecution is fair or unfair. Thus, any evidence or argument about the fairness or
unfairness of the prosecution is completely irrelevant, not to mention improper for a host of Rule
403 reasons. Chastain’s arguments to the contrary border on frivolous.

        The Government should be prepared to address Chastain’s requests for relief at the final
pretrial conference tomorrow. Any request or proposal for additional voir dire — by either party
— shall be filed in the form of a letter by 5 p.m. tomorrow, April 20, 2023.

        By the same time, the parties shall submit by email a joint updated list, in Microsoft
Word format, of (1) anyone who should be introduced to prospective jurors during jury
selection (namely, counsel and those who will be assisting counsel at trial); and (2) all witnesses
and names or places that may be mentioned at trial.

        The Clerk of Court is directed to terminate ECF No. 89.

        SO ORDERED.

Dated: April 19, 2023                                      __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
